 Case 2:20-cv-04520-SB-E Document 88 Filed 10/01/21 Page 1 of 1 Page ID #:2455
                                                      October 1, 2021

                                                                   VPC
 1                                                                  JS-6
 2
                            UNITED STATES DISTRICT COURT
 3
                           CENTRAL DISTRICT OF CALIFORNIA
 4
 5                                               Case No. 2:20-cv-04520-SB-E
     LEAH KANDO
 6
 7                              Plaintiff,
 8                                                    FINAL JUDGMENT
     v.
 9
10   CITY OF LONG BEACH, et al.,

11                              Defendants.
12
13
14         For the reasons set forth in the Court’s partial grant and partial denial of
15   Defendants’ Motion to Strike and Dismiss the First Amended Complaint (Dkt. No.
16   41), the Court’s grant of Defendants’ Motion to Dismiss certain causes of action in
17   Plaintiff’s Second Amended Complaint (Dkt. No. 53), and in the separate Order on
18   Summary Judgment entered this day, it is:
19         ORDERED AND ADJUDGED that Plaintiff Leah Kando shall take nothing on
20   her claims against Defendants City of Long Beach, Lindsey Taylor-Law, Alfredo
21   Magana, Nadia Klute, Michael Ogden, and Jesus Valdez. Plaintiff’s claims are
22   DISMISSED with prejudice.
23         This is a Final Judgment.
24
25   Dated: October 1, 2021 _______________________________________
26                                     STANLEY BLUMENFELD, JR.
                                    UNITED STATES DISTRICT JUDGE
27
28

                                                 1
